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UN|TED STATES OF AN|ER|CA
Plaintiff

VS.
CR. NO. 04-20294-D

DANNY MCK|NNEY

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAV
AND SETT|NG

 

This cause came on for a report date on lVlay 19, 2005 At that time, counsel forthe
defendant requested a continuance ofthe June 6, 2005 trial date and requested a Change
of Plea hearing date.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a ghL\_gg
of Plea hearinq date of Thursdav. June 30J 2005. at 10:30 a.m., in Courtroom 3. 9th
w ofthe Federal Building, Nlemphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT is so oRDERED this@"@ day of May, 2005.

    

BE N|CE B. D NALD
U |TED STATES DlSTR|CT JUDGE

e docket sheet in compliance
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Thls document entered on th ‘
with Rule 55 and/or 32(b) Fl%CrP on

   

UNITED sATE DSTIIC COURT - WETERN DISTRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 33 in
case 2:04-CR-20294 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

